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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Mike Rudder,                                       No. CV-17-02948-PHX-DJH
10                  Plaintiff,                          ORDER
11   v.
12   Experian Information Solutions
     Incorporated, et al.,
13
                    Defendants.
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15            The Court having reviewed the parties’ Stipulation of Dismissal (Doc.53), and the
16   parties’ Notice of Errata re: Stipulation of Dismissal (Doc. 54), both filed on September
17   13, 2018,
18            IT IS ORDERED approving the Stipulation (Doc. 53) and Notice of Errata re:
19   Stipulation of Dismissal (Doc. 54) and dismissing this action as to Defendant Trans
20   Union, LLC only, with prejudice, each party to bear its own attorneys’ fees and costs.
21            IT IS FURTHER ORDERED directing the Clerk of Court to terminate
22   Defendant Trans Union, LLC.
23            Dated this 17th day of September, 2018.
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                                                   Honorable Diane J. Humetewa
26                                                 United States District Judge
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